 

|N THE 15TH JUD|C|AL C|RCU|T COURT, LAFAYETTE COUNTY MISSOUR|

 

Judge or Division :
DENN|S ALLEN ROLF (32238)

D|V|

Case Number :
m Change of \/enue from

16LF-CR00130-01

 

Offense Cyc|e No : 77144925

 

Defendant: DARRELL L I\/ICCLANAHAN |I|
(I\/\CCDL3081)
351 Swa||ow Drive
Sparta, Mo 65753

State Of Missouri vS.

 

Prosecuting Attomey/|\/|O Bar No:
KR|STEN ELL|S H|LBRENNER (58824)

Defense Attorney/MO Bar No :
KEV|N L JA|\/||SON (31278)

 

 

 

 

 

 

DOB : 15-Sep-1967 SSN : 489763081
SEX : |\/|
Appea| Bond Set Date :
Amount :
Judgment
Charge# Chaf§é Date n ¢hargé Codrew Chérge Derscrripticr)n w 7 7

 

Origina| Charge: 1 19-Jan~2016
Amended To: 1 19-Jan-2016
Disposition: 05-Jan-2018

Order Date: OS-Jan-2018

Length : 2 Days Start Date :
Text : Credit for time served.

Order Date: 05-Jan-2018

Start Date :

Fine Amount: $500.00

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Origina| Charge: 2 16-Feb-2016
Amended To: 2 16-Feb-2016
Disposition: 05-Jan-2018

Order Date: 05-Jan-2018
Length : 2 Days Start Date :
Text : Credit for time served.

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Sentence or SlS :

Sentence or SlS :

Sentence or SlS :

570.030-009Y200223.0

570.030-OO1Y200923.0

Gui|ty P|ea Written

Theft/Stealing (Va|ue Of F’roperty Or
Services |S $500 Or More But Less Than
$25,000) ( Fe|ony C RSMo: 570.030 )

Theft/Stea|ing (Va|ue Of Property Or
Services ls Less Than $500) (
Misdemeanor A RSMo: 570.030)

|ncarceration Jail
05-Jan-2018

Fine

05-Jan-2018 `

c':h'ar:§e'¢dde’_' '
575.150-001Y195048.0

575.150-003Y191048.0

Gui|ty P|ea Written

` Crharge D.<"asc`l"iptiorr\ `

Resisting/|nterfering With Arrest For A
Fe|ony ( Fe|ony D RSMo: 575.150)

Resisting/|nterfering With Arrest,
Detention Or Stop ( Misdemeanor A
RSMo: 575.150)

lncarceration Jail
05-Jan-2013

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Order Date: 05-Jan-2018 Sentence or SlS : Fine
Start Date : 05-Jan-20‘|8
Fine Amount: $500.00

 

The Court orders:

That Judgment entered in favor of the State of I\/iissouri and against the defendant for the sum of $10.00 for the
Crime Victims Compensation fund. Judgment is Not Satisfied.

Costs taxed against Defendant

 

The Court further orders;
05-Jan-2018 Judgment CVC $10 - Other

05-Jan-2018 Defendant Sentenced

Defendant sentenced to 2 days in the Lafayette County Jai| with credit for time served and assessed a $500.00
fine on each count.

 

 

So Ordered on: 16LF-CR00130-01 ST V DARRELL L MCCLANAHAN |ll

1/5/2018 DENNIS ROLF

 

Date Judge

 

| certify that the above is a true copy ofthe original Judgment and Sentence of the court in the above cause, as it
appears on record in my office.

(Sea| of Circuit Court)

issued on:

 

Date C|erk

 

 

 

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